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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                       Plaintiff,

        v.                                        No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                       Defendants.



        MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS OF
            DEFENDANTS’ MEMORANDA AND CERTAIN EXHIBITS

       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Case No. 15-10698,

Dkt. 170), Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.

(collectively “Defendants”), hereby move this Court for an Order to impound or otherwise seal the

following documents, on the ground these documents contain or reveal Plaintiff’s, Defendants’

and/or third-party confidential and proprietary information:

Documents Related to Defendants’ Reply Memorandum in Support of Defendants’ Daubert
Motion to Exclude Opinion of Sean Nicholson Regarding Damages (Dkt. 342)

   •   Defendants’ Reply Memorandum in Support of Defendants’ Daubert Motion to Exclude
       Opinion of Sean Nicholson Regarding Damages;

   •   Ex. 2, Excerpts of the 2/16/18 Deposition of Scott White;

   •   Ex. 3, Excerpts of the Expert Report of Dr. Gregory K. Leonard;

   •   Ex. 4, Excerpts of the Expert Report of Sean Nicholson, Ph.D.;

   •   Ex. 5, Exhibit 8 from the deposition of Scott White, bearing the Bates number
       JANREM0176085; and

   •   Ex. 6, Document bearing the Bates number HOS0032612.
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Documents Related to Defendants’ Reply In Support Of Defendants’ Motion For Partial
Summary Judgment That There Were Available And Acceptable Non-Infringing
Alternatives To The Asserted Patent (Dkt. 343)

   •   Reply In Support Of Defendants’ Motion For Partial Summary Judgment That There
       Were Available And Acceptable Non-Infringing Alternatives To The Asserted Patent;

   •   Defendants’ Response To Plaintiffs’ Counterstatement Of Material Facts In Support Of
       Their Opposition To Defendants’ Motion For Motion For Partial Summary Judgment
       That There Were Available And Acceptable Non-Infringing Alternatives To The
       Asserted Patent;

   •   Ex. 1, Excerpts of the 4/17/18 Deposition of Michael Butler, Ph.D. and

   •   Ex. 2, Excerpts of the Deposition Transcript of Richard Lit.

Documents Related to Defendants’ Reply Memorandum In Support Of Defendants’
Motion To Exclude Certain Opinions Of Michael Butler And Richard Lit Regarding
Damages And Infringement (Dkt. 333)

   •   Reply Memorandum In Support Of Defendants’ Motion To Exclude Certain Opinions Of
       Michael Butler And Richard Lit Regarding Damages And Infringement; and

   •   Ex. 1, Excerpts of the Deposition Transcript of Richard Lit.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 4 (Dkt.
318)

   •   Ex. 1, Excerpts of the Revised Rebuttal Expert Report of Michael Glacken, Sc.D.; and

   •   Ex. 3, Excerpts of the Opening Expert Report of Michael Glacken, Ph.D. Regarding
       Invalidity.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 5 (Dkt.
319)

   •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 5;

   •   Ex. 2, Excerpts of the Revised Rebuttal Expert Report of Michael Glacken, Sc.D.; and

   •   Ex. 4, Excerpts of the Opening Infringement Expert Report of Professor Michael Butler,
       Ph.D.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 6 (Dkt.
320)

   •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 6;



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   •   Ex. 1, Excerpts of the Revised Rebuttal Expert Report of Michael Glacken, Sc.D.; and

   •   Ex. 3, Excerpts of the Opening Infringement Expert Report of Professor Michael Butler,
       Ph.D.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 7 (Dkt.
321)

   •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 7;

   •   Ex. 3, Excerpts of the 12/14/16 Deposition of Michael Butler, Ph.D.; and

   •   Ex. 4, Excerpts of the Deposition of Dr. Florian Wurm.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 8 (Dkt.
338)

   •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 8;

   •   Ex. 1, Excerpts of the Expert Report of Dr. Gregory K. Leonard;

   •   Ex. 2, Excerpts of the 2/16/18 Deposition of Scott White;

   •   Ex. 3, Excerpts of the Expert Report of Sean Nicholson, Ph.D.;

   •   Ex. 4, Excerpts of the Rebuttal Damages Expert Report of Dr. Bert T. Frohlich;

   •   Ex. 6, Document bearing the Bates number HOS0032612; and

   •   Ex. 8, Excerpts of the Opening Expert Report of Michael Glacken, Ph.D. Regarding
       Invalidity.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 9 (Dkt.
322)

   •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 9;

   •   Ex. 1, Excerpts of the 04/25/18 Deposition Transcript of Sean Nicholson, Ph.D.;

   •   Ex. 2, Excerpts of the Expert Report of Sean Nicholson, Ph.D.;

   •   Ex. 3, Excerpts of the Expert Report of Dr. Gregory K. Leonard; and

   •   Ex. 4, Excerpts of the 4/17/18 Deposition of Michael Butler, Ph.D.




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Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 10 (Dkt.
341)

   •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 10;

   •   Ex. 1, Excerpts of the Expert Report of Sean Nicholson, Ph.D.;

   •   Ex. 2, Excerpts of the Expert Report of Dr. Gregory K. Leonard;

   •   Ex. 3, Excerpts of the 07/12/16 Deposition Transcript of Antoine Pompe Van
       Meerdervoort;

   •   Ex. 4, Excerpts of the Rebuttal Damages Expert Report of Dr. Bert T. Frohlich;

   •   Ex. 6, Excerpts of the 04/25/18 Deposition Transcript of Sean Nicholson, Ph.D.;

   •   Ex. 7, 10/6/17 Letter from A. Cohen to L. Cutri;

   •   Ex. 10, Document bearing the Bates number HOS0044956;

   •   Ex. 11, Document bearing the Bates number HOS0044966;

   •   Ex. 12, Document bearing the Bates number HOS0033219;

   •   Ex. 13, Document bearing the Bates number CELLREM-0386946_20180320;

   •   Ex. 14, Document bearing the Bates number CELLREM-0155959;

   •   Ex. 15, Excerpts of the 7/29/16 Deposition Transcript of Beverly Ingram;

   •   Ex. 21, Document bearing the Bates number JANREM0181681;

   •   Ex. 22, Document bearing the Bates number JANREM0176255;

   •   Ex. 23, Document bearing the Bates number JANREM0176261;

   •   Ex. 24, Document bearing the Bates number JANREM0176729;

   •   Ex. 25, Document bearing the Bates number JANREM0176733;

   •   Ex. 29, Document bearing the Bates number JANREM0213043;

   •   Ex. 30, Document bearing the Bates number JANREM0213077;

   •   Ex. 31, Document bearing the Bates number JANREM0213078;

   •   Ex. 32, Document bearing the Bates number JANREM0213079; and



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    •   Ex. 33, Document bearing the Bates number JANREM0213149.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 11 (Dkt.
336)

    •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 11.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 12 (Dkt.
331)

    •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 12;

    •   Ex. 1, Excerpts of the Reply Damages Expert Report of Dr. Michael Butler, Ph.D.; and

    •   Ex. 2, Excerpts of the 4/17/18 Deposition Transcript of Michael Butler, Ph.D.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 13 (Dkt.
339)

    •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 13.

Documents Related to Defendants’ Opposition to Plaintiff’s Motion in Limine No. 14 (Dkt.
340)

    •   Defendants’ Opposition to Plaintiff’s Motion in Limine No. 14; and

    •   Ex. 1, Excerpts of the Deposition Transcript of Richard Lit.



        Defendants filed publicly available, redacted versions of each of the above briefs through

the electronic filing system. Defendants request the other documents identified above be sealed in

their entirety.

        WHEREFORE, Defendants respectfully request that this Court allow this Motion.




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Dated: June 4, 2018                 Respectfully submitted,

                                    Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                    and Hospira, Inc.

                                    By their attorneys,

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                                 LR 7.1(a)(2) CERTIFICATION

       I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s

counsel regarding this motion; Plaintiff assents to this Motion.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

       I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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